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                  UNITED STATES DISTRICT COURT

                  FOR THE DISTRICT OF COLUMBIA


NEW MEXICO CATTLE GROWERS’
ASSOCIATION,

                                   Plaintiff,   No. 1:21-cv-3263-EGS

  v.

UNITED STATES FISH AND WILDLIFE
SERVICE, et al.,

                        Federal Defendants,

CENTER FOR BIOLOGICAL DIVERSITY,
MARICOPA AUDUBON SOCIETY.

                      Defendant-Intervenors.


       INDEX OF EXHIBITS TO DECLARATION OF DAMIEN M. SCHIFF
      Case 1:21-cv-03263-EGS Document 16-5 Filed 08/17/22 Page 2 of 2




Exhibit                                  Document Title
A                                        Letter from Damien M. Schiff, Senior
                                         Attorney, Pacific Legal Foundation, to U.S.
                                         Fish and Wildlife Service FOIA Officer
                                         (Aug. 14, 2018)
B                                        Letter from Melanie Ruiz, FOIA Coordinator,
                                         U.S. Fish and Wildlife Service, to Damien M.
                                         Schiff, Senior Attorney, Pacific Legal
                                         Foundation (Sept. 20, 2018)
C                                        Letter from Melanie Ruiz, FOIA Coordinator,
                                         U.S. Fish and Wildlife Service, to Damien M.
                                         Schiff, Senior Attorney, Pacific Legal
                                         Foundation (May 2, 2019)
D                                        Email from Gjon Hazard, Fish & Wildlife
                                         Biologist, U.S. Fish & Wildlife Serv., to
                                         Angela Picco, et al. (May 9, 2017, 5:04 PM)
E                                        Email from Greg Beatty, Fish & Wildlife
                                         Biologist, U.S. Fish & Wildlife Serv., to Gjon
                                         Hazard, et al. (May 15, 2017, 11:15 AM)
F                                        Letter from Melanie Ruiz, FOIA Coordinator,
                                         U.S. Fish and Wildlife Service, to Damien M.
                                         Schiff, Senior Attorney, Pacific Legal
                                         Foundation (May 16, 2019)




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